                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                        Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.




                                 PLAINTIFFS’ MOTION TO COMPEL

            Pursuant to Fed. R. Civ. P. 37 and E.D. Va. Local Rule 37, Plaintiffs hereby move to

     compel Defendants Cox Communications, Inc. and CoxCom, LLC (collectively “Cox”) to

     produce:

            (1) Public trial exhibits, deposition transcripts of Cox’s fact witnesses and four experts

            (Barbara Frederiksen-Cross, William Lehr, Terrence McGarty, Richard Sullivan), and

            Cox’s sworn interrogatory answers from BMG Rights Management v. Cox

            Communications, Inc. et al., 1:14-cv-1611; and

            (2) Copyright infringement notices, including those sent by non-parties, received by Cox

            from 2010 to 2014.

     For the reasons set forth in the accompanying Memorandum in Support, the Court should grant

     the motion.

                       LOCAL RULE 37(E) MEET AND CONFER STATEMENT

            Counsel for Plaintiffs sent a letter regarding Cox’s deficient objections on December 10,

     2014. The parties’ respective counsel then held two telephonic meet-and-confers on December 12

     and 14 concerning Cox’s discovery responses. The parties have resolved several issues and others
  remain under consideration. Despite their efforts, the parties were unable to resolve all of their

  disputes.

                                                                Respectfully submitted,


Dated December 14, 2018                                         /s/ Scott. A Zebrak  /
                                                                Scott A. Zebrak (38729)
                                                                Matthew J. Oppenheim (pro hac vice)
                                                                Jeffrey M. Gould (pro hac vice)
                                                                OPPENHEIM + ZEBRAK, LLP
                                                                4530 Wisconsin Avenue, NW, 5th Floor
                                                                Washington, DC 20015
                                                                Tel: 202-480-2999
                                                                scott@oandzlaw.com
                                                                matt@oandzlaw.com
                                                                jeff@oandzlaw.com

                                                                Attorneys for Plaintiffs




                                                      2
